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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **        *
  JOHN K. WALTER and PATRICIA R.             *
  FERRARA,                                   *
                                             *
                    Plaintiffs,              *
                                             *   No. 18-957T
             v.                                  Filed: September 20, 2019
                                             *
  UNITED STATES,                             *
                                             *
                    Defendant.               *
     * * * * * * * * * * * * * * * * **      *
                                    ORDER

       The court is in receipt of the parties’ September 20, 2019 joint stipulation of
dismissal with prejudice of the above-captioned case. Pursuant to Rule 41(a)(1)(A) of the
Rules of the United States Court of Federal Claims (2019), this court ORDERS that this
case be DISMISSED with prejudice, with each party to bear its own costs, including any
attorneys’ fees.


      IT IS SO ORDERED.

                                                    s/Marian Blank Horn
                                                    MARIAN BLANK HORN
                                                             Judge
